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IN THE UNITED sTATEs DISTRICT coURT H"* “ ry¥y(j
FoR THE wEsTERN DISTRICT oF TENNESSEE q
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LYNELL MARCUS BUTLER, et al.,
Plaintiffs,
vs. Civ. No. 03-2650~D[P

SHELB'Y COU'NTY, et al.,

Defendants.

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AMENDED SCHEDULING ORDER

 

On June 16, 2005, the court held a Scheduling conferenoe.
Present were Randall Tolley, counsel for plaintiffs, Debra
Fessenden and Katherine Andereon, counsel for defendants. The
echeduling order is hereby amended as follows:

INITIAL DIscLosUREs PURSUANT To Fed.R.civ.P. 26(a)(1)=
August 15, 2005

JOINING PARTIES: October 3, 2005

AMENDING PLEADINGS: October 3, 2005

INITIAL MOTIONS TO DISMISS: November 15, 2005
COMPLETING ALL DISCOVERY: May' 15, 2006

(a) DOCUMENT PRODUCTION= May 15, 2006

T0is document entered on the docket sheet in compllance q
with eula 5a and/or re{a) FHCP on '020“0~5

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(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: May 15, 2006

(C) EXPERT WITNESS DISCLOSURE (Rule 26):

(1) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: June 15, 2006

(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
INFORMATION: July 15, 2006

(3) EXPERT WITNESS DEPOSITIONS: AuguSt 30, 2006
FILING DISPOSITIVE MOTIONS: OCtOber 2, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All motions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
Of the response, answer, or objection, which is the subject of the
motion, if the default Occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good. cause shown, or the objection. to the default, response,
answer, or objection shall be waived.

This case is set for a jury trial. The pretrial order date,
pretrial conference date, and trial date will be set by the
presiding judge. It is anticipated. that the trial will last
approximately two (2) weeks.

This case may be appropriate for~ ADR“ The parties are
directed to engage in court-annexed attorney mediation or private
mediation after the close of discovery.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

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The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a lnotion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

At this time, the parties have not given consideration to
whether they wish to consent to trial before the magistrate judge.
The parties will file a written consent form with the court should
they decide to proceed before the magistrate judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or
extended.

IT IS SO ORDERED.

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TU M. PHAM
United States Magistrate Judge

vat 20)1»0)/

 

Date

 
 

UNITED sTTEAsD"sTIC COURT - WESERNT D"T'CT oFTENNESSEE

     

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 89 in
case 2:03-CV-02650 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

Katherine M. Anderson

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/1emphis7 TN 38103

Debra L. Fessenden

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Paul D. Leitch

LAW OFFICE OF PAUL LEITCH
5050 Poplar

Ste. 2414

1\/1emphis7 TN 38157

Randall Blake Tolley

LAW OFFICE OF RANDALL B. TOLLEY
242 Poplar Ave.

1\/1emphis7 TN 38103

Jerry O. Potter

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

